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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
                                                           :   Chapter 11
                                                           :
                                                           :   Case No. 19-71020 (REG)
IN RE:                                                     :   Case No. 19-71022 (REG)
                                                           :   Case No. 19-71023 (REG)
                                           1
DÉCOR HOLDINGS, INC., et. al.,                             :   Case No. 19-71024 (REG)
                                                           :   Case No. 19-71025 (REG)
                  Post-Confirmation Debtors.               :
                                                           :   (Substantively Consolidated)
                                                           :
                                                           :   Hon. Robert E. Grossman
---------------------------------------------------------- X
BRYAN RYNIKER, IN HIS CAPACITY AS :
LITIGATION ADMINISTRATOR OF THE                            :
POST-CONFIRMATION ESTATES OF                               :
DÉCOR HOLDINGS, INC., et al.,                              :
                                                           :
                           Plaintiff,                      :
                                                           :   Adv. Pro. No. 20-08140 (REG)
                  v.                                       :
                                                           :
VALDESE WEAVERS, LLC,                                      :
                                                           :
                           Defendant.                      :
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                              PRETRIAL STIPULATION AND ORDER

        Plaintiff Brian Ryniker in his capacity as the Litigation Administrator (“Plaintiff”) of the

post-confirmation estates of Décor Holdings, Inc., et al. and Defendant Valdese Weavers, LLC

(“Defendant”), by and through counsel, hereby stipulate as follows:




        1
            The debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Décor Holdings, Inc. (4174); Décor Intermediate Holdings LLC (5414); RAD Liquidation
Inc. (f/k/a The Robert Allen Duralee Group, Inc.) (8435); RAD Liquidation LLC (f/k/a The Robert Allen Duralee
Group, LLC) (1798); and RADF LLC (f/k/a The Robert Allen Duralee Group Furniture, LLC) (2835).
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                                             RECITALS

       A.      On July 7, 2022, the Litigation Administrator filed the following three motions in

limine (collectively, “Plaintiff’s MILs”):

       (1)     Motion In Limine No. 1 to Bar Defendant from Proffering Testimony and Evidence
               at Trial Concerning Reclamation Claim Under 11 U.S.C. § 546(c) [Dkt. No. 18]
               (“MIL No. 1”);

       (2)     Motion In Limine No. 2 to Bar Defendant from Introducing Summary Charts [Dkt.
               No. 19] (“MIL No. 2”); and

       (3)     Motion In Limine No. 3 to Bar Defendant from Introducing Evidence Not Yet
               Produced [Dkt. No. 20] (“MIL No. 3”).

       B.      On July 14, 2022, Valdese filed its Motion In Limine to Bar Plaintiff from

Introducing Evidence Produced After the Fact Discovery Deadline [Dkt. No. 21] (the

“Defendant’s MIL”).

                                         STIPULATION

       Subject to entry of this Stipulation and Order by the Court, the Parties hereby agree as

follows:

       1.      Defendant shall not offer DEF’S 1 in support of a claim for reclamation of goods

under 11 U.S.C. § 546(c). Plaintiff hereby withdraws MIL No. 1.

       2.      Plaintiff hereby withdraws MIL No. 2, provided, however that Plaintiff reserves all

rights to object to the production and/or introduction of any invoices that have not yet been made

available that are summarized in the summary charts.

       3.      MIL No. 3 and Defendant’s MIL shall proceed on a contested basis.

       4.      The Parties do not object to the other Party calling witnesses via Zoom.

       5.      The Parties’ rights and positions that are not otherwise affected by this Stipulation

are expressly reserved and preserved.




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 Dated: New York, New York                       Dated:      New York, New York
        September 7, 2022                                    September 7, 2022

 OLSHAN FROME WOLOSKY LLP                        LOEB & LOEB LLP

 By: /s/ Jonathan T. Koevary                     By: /s/ Noah Weingarten
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 Attorneys for Valdese Weavers, LLC              Attorneys for Brian Ryniker,
                                                 Litigation Administrator



                                         SO ORDERED:




22702133




                                                          ____________________________
 Dated: Central Islip, New York                                Robert E. Grossman
        September 7, 2022                                 United States Bankruptcy Judge



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